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                                                                        Page 61
1              Q.    If you know.
2              A.    I think there was conversation about such
3       a thing, and it got construed a certain way; but,
 4      no, I did not do such a thing with a metronome.
 5             Q.    Okay.    What did happen with the
6       metronome?
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17             Q.    And, then, she also subsequently made the
18      report to Brookwood High School?
19             A.    Yes.     She subsequently called Brookwood
20      High School and made reports that there was some
21      kind of threat, but it was not like in her office.
22      It was like a speculative event that she was
23      reporting, like from second, third, forth hand.
24             Q.    And just to back up, what led your dad to
25      make the appointment with Ms. Coats that next day?
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                                                                             Page 64
  1              A.   So when we were at band practice session,
  2      he noticed that I was upset.                I felt like my mom
  3      had said a number of very hurtful things to me, and
  4      he was also concerned about the other distress that
  5      I had about the situation at Brookwood, just all of
  6      it, really, and when he saw that I was distraught,
  7      he, m'mm -- he brought me into that session.
  8              Q.   Okay.     Your conversation with your mom,
  9      yeah, I think you've testified that that was about
 10      the situation at Brookwood, primarily.
 11                   Is that true?
 12              A.   Yeah.     It was about the overall
 13      situation, it was about her role as parental figure
 14      in my life and what she was supposed to do and
 15      didn't, and it was just -- it was like arguing,
 16      fighting sort of.
 17              Q.   Right.
 18                   Now, at that point, though, were you --
 19      you had been removed from special ed or no?
 20              A.   Yes.     At that point, I was no longer in
 21      special ed at Brookwood.
 22              Q.   So you were no longer having interactions
 23      with Ms. Dewey at that point on a daily basis,
 24      correct?
 25              A.   That is correct.

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          DAVID C. WARTH vs GWINNETT COUNTY PUBLIC SCHOOLS, ET AL.
                            David C. Warth on 10/09/2024
                                                                             Page 65
  1              Q.   So what was the situation at Brookwood
  2      that was continuing to cause these issues?                      Was it
  3      just the iss -- the situation where you were
  4      accused to be staring at Ms. Dewey?
  5              A.   Yeah.     It was all the internal decisions
  6      which were apparently happening about me.                     There
  7      was some sort of like correspondence with Ford to
  8      have him seek me out and confront me in the hallway
  9      on the day of, like a couple -- like prior, like
 10      right after the February 27th meeting, there was,
 11      obviously, that recent meeting, which had occurred,
 12      there were the circumstances leading up to the
 13      implementation of an IEP that I thought had been
 14      wrongful, there was an absence of parental
 15      protection, and we were just conversing between
 16      ourselves about all of this the night before the
 17      Coats's incident, and, then, my father kind of saw
 18      that there was like a stare down happening between
 19      me and mom, he removed me from the home and took me
 20      to the band practice.
 21              Q.   Okay.     So you never left the presence of
 22      your mom and dad -- your dad that day?                     You were
 23      always with your dad.
 24                   Is that right?
 25              A.   When he found -- when he -- when he found

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                                                                         Page 66
 1      me distraught, he took me to band practice, and I
 2      stayed in his presence for the remainder of that
 3      day.    That's correct.
 4             Q.    But, initially, you left the house,
 5      correct?
 6             A.    I took about like two steps out the door,
 7      and he happens to be in the area.               He was like --
 8      he had like band equipment with him, like a guitar,
 9      and said that he was like going to band practice.
10      What are you doing?         And, then, he just said you
11      want to come in the car?           I was like sure, and I
12      went in the car, and, then, we went to the other
13      home at -- at Saratoga.
14             Q.    Did he ask you where you were going?
15             A.    No.      He just said you want to get in the
16      car, and I was like sure.
17             Q.    So you never told him I'm goi -- you know
18      where I'm going?
19             A.    No.
20             Q.    Okay.     All right.
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